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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


          Southern
 ____________________              New York
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



                                              OneWeb Global Limited
 1.   Debtor’s name                           ____________________________________________________________________________________________________



                                              OneWeb LLC, OneWeb, WorldVu Satellites, and WorldVu
 2.   All other names debtor used             ___
                                               _____________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               N/A
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business
                                              West Works Building
                                              _______________________________________                    _______________________________________________
                                                                                                         Number     Street

                                              195 Wood Lane
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          P.O. Box


                                              London, W12 7FQ                                            _______________________________________________
                                              ______________________________________________             City                      State      ZIP Code
                                              City                        State    ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              United Kingdom
                                              ______________________________________________
                                              Country                                                    _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code



                                         https://www.oneweb.world/
 5.   Debtor’s website (URL)             ____________________________________________________________________________________________________




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               OneWeb Global Limited (UK)
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       
                                           X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           X None of the above



                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                              ___    1 ___
                                                         7 ___
                                                             4


 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           
                                           X Chapter 11. Check all that apply:

                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                               chooses to proceed under Subchapter V of Chapter 11.

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12
 9.   Were prior bankruptcy cases          
                                           X No
      filed by or against the debtor
      within the last 8 years?              Yes.    District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY


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                 OneWeb Global Limited (UK)
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases               No
       pending or being filed by a                                                                                        Affiliate
                                             X Yes.
                                                             See Rider
                                                       Debtor _____      1
                                                                    ________________________________________ Relationship _________________________
       business partner or an
       affiliate of the debtor?                                 Sout hern  Distri                                                 Date Hereof
                                                       District ___ ____ _____ __ct
                                                                                  __of
                                                                                    ___New
                                                                                        ____York
                                                                                            ______________________ When           [DATE]
                                                                                                                                 ___ _______________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             
                                             X A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.



 12.   Does the debtor own or have           
                                             X No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of                Check one:
       available funds                        Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                           X 1,000-5,000
                                                                                                                        25,001-50,000
 14.   Estimated number of                    50-99                           5,001-10,000                             50,001-100,000
       creditors
        (on a consolidated basis)
                                              100-199                         10,001-25,000                            More than 100,000
                                              200-999

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               OneWeb Global Limited (UK)
Debtor        _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                   X $1,000,000,001-$10 billion
                                                                                                                         
         (on a consolidated basis,        $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
         based on net book value          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
         as of 01/31/2020)
                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                         X $1,000,000,001-$10 billion
         (on a consolidated basis,        $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
         based on net book value          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
         as of 01/31/2020)


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           03/27/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                                 /s/ Thomas Whayne
                                             _____________________________________________
                                                                                                          Thomas
                                                                                                          Tom     Whayne
                                                                                                              Whayne
                                                                                                          6WHYH)D\
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Authorized
                                             Title ________   Signatory
                                                            _________________________________




 18.   Signature of attorney
                                                   /s/ Dennis F. Dunne
                                             _____________________________________________                Date        03/27/2020
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY


                                              'HQQLV)'XQQH
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Milbank LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                             55 Hudson Yards
                                             _________________________________________________________________________________________________
                                             Number     Street
                                             New  York                                                       NY               10001
                                             ____________________________________________________            ____________ ______________________________
                                             City                                                            State        ZIP Code

                                             212-530-5000                                                     ddunne@milbank.com
                                             ____________________________________                            __________________________________________
                                             Contact phone                                                   Email address


                                              2414373                                                       New York
                                             ______________________________________________________ ____________
                                                                                                  _ ___ _____
                                             Bar number                                             State




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                                            Rider 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the Southern District of New
York. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration of these chapter 11 cases for procedural purposes only under the case number
assigned to OneWeb Global Limited.

                                           Company
       1021823 B.C. LTD
       Network Access Associates Limited
       OneWeb ApS
       OneWeb Chile SpA
       OneWeb Communications Limited
       OneWeb G.K.
       OneWeb Global Limited
       OneWeb Holdings LLC
       OneWeb Limited
       OneWeb Ltd
       OneWeb Network Access Holdings Limited
       OneWeb Norway AS
       WorldVu Australia Pty Ltd.
       WorldVu Development LLC
       WorldVu JV Holdings LLC
       WorldVu Mexico, S. DE R. L. DE C.V.
       WorldVu Satellites Limited
       WorldVu South Africa (Pty) Ltd.
       WorldVu Unipessoal Lda




                                                                                            42403.00001
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     Debtor name OneWeb Global Limited, et al.

     UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF NEW YORK
     Case No. (If known)


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
    Are Not Insiders (Reported on a Consolidated Basis)1                                                                                                                    12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.

    Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                              Name, telephone number, and                                 claim is
    mailing address, including zip            email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
    code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                      trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                      loans,                               deduction for value of collateral or setoff to
                                                                                      professional                         calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                          Total Claim, if   Deduction         Unsecured claim
                                                                                      contracts)
                                                                                                                          partially         for value of
                                                                                                                          secured           collateral or
                                                                                                                                            setoff 2


    1   Arianespace                           Arianespace                             AP Trade                                                                    $238,137,447.58
        Boulevard de l'Europe                 Attn: Michel Doubovick
        Evry-Courcouronnes, 91006             Tel: +330160876000
        France                                Email: m.doubovick@arianespace.com




    2   Qualcomm Technologies Inc             Qualcomm Technologies Inc               AP Trade                                                                      $8,000,000.00
        File No. 748382                       Attn: Mario Scipione
        Los Angeles, CA 90074-8382            Tel: 858-651-0529
                                              Email: mscipion@qti.qualcomm.com




    3   Deloitte Touche Tohmatsu Ltd          Deloitte Touche Tohmatsu Ltd            Professional                                                                  $6,861,336.01
        P.O. Box 844736                       Attn: Leah Albeck
        Dallas, TX 75284-4736                 Tel: 212-436-5980
                                              Email: lealbeck@deloitte.com




    4   Hughes Network Systems, LLC           Hughes Network Systems, LLC             AP Trade                                                                      $5,352,750.51
        P.O. Box 64136                        Attn: Hope Swartz
        Baltimore, MD 21264                   Tel: 301-212-1011
                                              Email: Hope.swartz@hughes.com




    5   Deutsche Bank                         Deutsche Bank                           AP Trade            Disputed                                                  $5,200,734.82
        1 Wall St                             Attn: Vaibhav Lohiya
        New York, NY 10005                    Tel: SynOps: 201-593-6919
                                              Email: vaibhav.lohiya@db.com




1 Theinformation herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed
below. Moreover, nothing herein shall affect the Debtors’ right to challenge the amount or characterization of any claim at a later date.

2   The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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Debtor name OneWeb Global Limited, et al.                                                          Case No. (If known)

                                                                (Continuation Sheet)

Name of creditor and complete                                               Nature of the       Indicate if      Amount of unsecured claim
                                     Name, telephone number, and                                claim is
mailing address, including zip       email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                       (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                            trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                            loans,                               deduction for value of collateral or setoff to
                                                                            professional                         calculate unsecured claim.
                                                                            services, and
                                                                            government
                                                                                                                Total Claim, if   Deduction         Unsecured claim
                                                                            contracts)
                                                                                                                partially         for value of
                                                                                                                secured           collateral or
                                                                                                                                  setoff


6   Wipro Ltd                        Wipro Ltd                              AP Trade                                                                      $2,470,647.25
    2 Tower Center Blvd, Ste 2200    Attn: Venkata Thallapalli
    East Brunswick, NJ 08816         Email: venkata.thallapalli@wipro.com




7   Willis Towers Watson PLC         Willis Towers Watson PLC               Insurance           Contingent                                                $1,899,895.09
    New York, NY 10249-4557          Attn: Mark Quinn
                                     Tel: 301-581-4264
                                     Email:
                                     mark.quinn@WillisTowersWatson.com



8   Viasat                           Viasat                                 AP Trade                                                                      $1,225,000.00
    6155 El Camino Real              Attn: Andy Anderson
    Los Angeles, CA 92009            Tel: 678-924-2753
                                     Email: andy.anderson@viasat.com




9   Nokia Corp                       Nokia Corp                             AP Trade                                                                        $988,051.09
    25 Martin Linges vei Fornebu     Attn: Earl Clark
    Bærum, 1364                      Tel: +35871400400
    Norway                           Email: earl.clark@nokia.com




10 Redapt, Inc                       Redapt, Inc                            AP Trade                                                                        $662,275.85
   14051 NE 200th St                 Attn: Bert Forderer
   Woodinville, WA 98072             Tel: 425-605-7151
                                     Email: bertf@redapt.com




11 Rockwell Collins Inc              Rockwell Collins Inc                   AP Trade                                                                        $596,775.73
   400 Collins Rd                    Attn: Jennelle Silkert
   Cedar Rapids, IA 52498            Tel: 319-295-1000
                                     Email: jennelle.silkert@collins.com
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Debtor name OneWeb Global Limited, et al.                                                        Case No. (If known)

                                                            (Continuation Sheet)

Name of creditor and complete                                             Nature of the       Indicate if      Amount of unsecured claim
                                  Name, telephone number, and                                 claim is
mailing address, including zip    email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                     (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                          trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                          loans,                               deduction for value of collateral or setoff to
                                                                          professional                         calculate unsecured claim.
                                                                          services, and
                                                                          government
                                                                                                              Total Claim, if   Deduction         Unsecured claim
                                                                          contracts)
                                                                                                              partially         for value of
                                                                                                              secured           collateral or
                                                                                                                                setoff


12 Mcdermott Will & Emery LLP     Mcdermott Will & Emery LLP              Professional                                                                    $546,786.00
   340 Madison Ave                Tel: 212-547-5535
   New York, NY 10173-1922        Email: eherrera@mwe.com




13 USSI Global                    USSI Global                             AP Trade                                                                        $501,477.09
   9145 Ellis Rd                  Attn: Dave Christiano
   Melbourne, FL 32904            Tel: 321-723-5395
                                  Email: dave.christiano@ussiglobal.com



14 RUAG                           RUAG                                    AP Trade            Disputed                                                    $328,152.00
   Accounting, Stachegasse 16     Attn: Andreas Derntl
   1120 Vienna                    Tel: +43-1-801 99-0
   Austria                        Email: Andreas.derntl@ruag.com




15 NTT Communications Corp        NTT Communications Corp                 AP Trade                                                                        $195,502.11
   2-3-1 Oteamchi Chiyoda-Ku      Attn: Hiromu Inoue
   Tokyo                          Email: hiromu.inoue@ntt.com
   Japan




16 Capgemini America, Inc         Capgemini America, Inc                  AP Trade                                                                        $175,514.62
   012663 Collection Center Dr    Attn: Arun Santhanam
   Chicago, IL 60693              Email: arun.santhanam@capgemini.com




17 Salesforcecom Inc              Salesforcecom Inc                       AP Trade                                                                        $145,544.47
   P.O. Box 203141                Tel: 415-901-8457
   Dallas, TX 75320-3141          Email: billing@salesforce.com




18 Shearman & Sterling LLP        Shearman & Sterling LLP                 Professional                                                                    $129,444.75
   401 9th St NW, Ste 800         Attn: Jay Singer
   Washington, DC 20004           Tel: 212-848-4000
                                  Email: jay.singer@shearman.com
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Debtor name OneWeb Global Limited, et al.                                                           Case No. (If known)

                                                               (Continuation Sheet)

Name of creditor and complete                                                Nature of the       Indicate if      Amount of unsecured claim
                                     Name, telephone number, and                                 claim is
mailing address, including zip       email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                        (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                             trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                             loans,                               deduction for value of collateral or setoff to
                                                                             professional                         calculate unsecured claim.
                                                                             services, and
                                                                             government
                                                                                                                 Total Claim, if   Deduction         Unsecured claim
                                                                             contracts)
                                                                                                                 partially         for value of
                                                                                                                 secured           collateral or
                                                                                                                                   setoff


19 Finding X                         Finding X                               Professional                                                                    $125,652.14
   4-6 High St Dukes House, Ste 6    Attn: Chris Finch
   Windsor Berkshire, SL4 1LD        Tel: +44 (0) 7901526119
   United Kingdom                    Email: chris.finch@findingx.com




20 Kongsberg Satellite Services      Kongsberg Satellite Services            AP Trade                                                                        $117,000.00
   38 Prestvannveien                 Attn: Anders Saetermo
   Tromsø, N-9291                    Tel: +77600250
   Norway                            Email: anders.saetermo@ksat.no




21 Mosaic Island                     Mosaic Island                           Professional                                                                    $106,124.51
   25 Moorgate                       Attn: Tony Walsh
   London, EC2R 6AY                  Email: tony.walsh@mosaicisland.co.uk
   United kingdom




22 Mission Microwave Technologies    Mission Microwave Technologies          AP Trade                                                                        $102,501.24
   9924 Norwalk Blvd                 Attn: Christie Camacho
   Santa Fe Springs, CA 90670        Tel: 951-893-4925
                                     Email:
                                     christie.camacho@missionmicrowave.com



23 Collabera Inc                     Collabera Inc                           Professional                                                                     $84,179.50
   Attn: Accounts Receivable         Attn: Nikul Parekh
   P.O. Box 19                       Tel: 973-889-5200
   Liberty Corner, NJ 07938-9800     Email: nikul.parekh@collabera.com




24 Additional Contract Services      Additional Contract Services            Professional                                                                     $64,969.26
   Lockbox Dept CH14395              Attn: Joshua Urgent
   Palatine, IL 60055-4395           Tel: 781-685-3827
                                     Email: joshua.urgent@entegee.com
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Debtor name OneWeb Global Limited, et al.                                                                Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                        Name, telephone number, and                                   claim is
mailing address, including zip          email address of creditor contact         claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction         Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


25 Quanta Consulting LLC                Quanta Consulting LLC                     Professional                                                                     $62,500.00
   P.O. Box 86                          Attn: Ryan Gardner
   Hanover, NH 03755                    Tel: 802-735-7546
                                        Email: Ryan@1010Holdings.com




26 DHG Dixon Hughes Goodman             DHG Dixon Hughes Goodman                  Professional                                                                     $56,700.00
   P.O. Box 602828                      Attn: Catherine DuBois
   Charlotte, NC 28260-2828             Tel: 703-970-0400
                                        Email: Catherine.DuBois@dhg.com




27 Euroconsult                          Euroconsult                               AP Trade                                                                         $52,269.12
   86 Blvd de Sebastopol                Attn: Pacome Revillon
   F- 75003 Paris                       Tel: +33 (0)1 49 23 75 09
   France                               Email: revillon@euroconsult-ec.com




28 Hawaii Pacific Teleport, LP          Hawaii Pacific Teleport, LP               AP Trade                                                                         $50,000.00
   P.O. Box 429                         Attn: Leeana Smith-Ryland
   Makawao, HI 96768                    Tel: 808-674-9157
                                        Email: lsmith-ryland@hawaiiteleport.com




29 FutureAerospace Hainan Ltd           FutureAerospace Hainan Ltd                Professional                                                                     $48,000.00
   33 33 Hairun Rd, 1st Fl              Attn: Rita Zhang
   Sanya Tianya Hainan, B-A03           Tel: (010)82949816
   China                                Email: rita.zhang@futureaerospace.com




30 Emerging Markets Communications,     Emerging Markets Communications, LLC      Professional                                                                     $40,000.00
   LLC                                  Attn: Mark Anastasio
   1025 Connecticut Ave NW, Ste 1000    Tel: 202-331-7751
   Washington, DC 20036                 Email:
                                        mdanastasio@emcommunicate.com
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                             ONEWEB GLOBAL LIMITED

                               OFFICER’S CERTIFICATE

                                      March 27, 2020

         The undersigned hereby certifies that she is an Authorised Signatory of OneWeb
 Global Limited, a company incorporated under the laws of England and Wales (the
 “Company”), and further certifies that attached hereto as Exhibit A is a true, complete, and
 correct copy of resolutions adopted by the Board of Directors of the Company (the “Board”)
 at a meeting of the Board on March 26, 2020. Such resolutions were duly and validly
 adopted by the Board in accordance with the articles of association of the Company and the
 laws of England and Wales. All such resolutions are in full force and effect on the date
 hereof in the form in which adopted, without amendment, modification, or revocation.


                                  [Signature Page Follows]




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                                   Exhibit A

                                   Resolutions




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                               RESOLUTIONS OF THE
                            THE BOARD OF DIRECTORS OF
                             ONEWEB GLOBAL LIMITED

                                       March 26, 2020
         WHEREAS, the Board has reviewed and considered the financial and operational
 condition of the Company and the Company’s business on the date hereof, including the
 historical and current performance of the Company, the assets and prospects of the
 Company, the current and long-term liabilities of the Company, the market for the
 Company’s assets, and credit market conditions, and fully considered the strategic
 alternatives available to the Company; and

         WHEREAS, the Board has received, reviewed and considered the
 recommendations of the senior management of the Company and the Company’s legal,
 financial and other advisors as to the relative risks and benefits of pursuing a reorganization
 case under the provisions of chapter 11 of title 11 of the United States Code (the
 “Bankruptcy Code”); and

        WHEREAS, the Board has determined that taking the actions set forth below are
 advisable and in the best interests of the Company and, therefore desires to approve the
 following resolutions:

        NOW, THEREFORE, BE IT

   I.   Commencement of Chapter 11 Cases

          RESOLVED, that, in the judgment of the directors, it is in the best interests of the
 Company, and would promote the maximisation of the value of the Company for the benefit
 of its shareholders, that a voluntary petition (the “Petition”) be filed with the Bankruptcy
 Court by the Company commencing a case (the “Chapter 11 Case”) under the provisions
 of the Bankruptcy Code; and it is further

         RESOLVED, that any one of Adrian Steckel, Thomas Whayne, Steven Fay,
 Kathleen Guerere, any director of the Company, and any other officer of the Company
 specifically designated by the foregoing officers (each, an “Authorized Person”), in each
 case, acting singly or jointly, be, and each hereby is, authorized and empowered to execute
 and file in the name and on behalf of Company, to execute, acknowledge, deliver, and verify
 the Petition and to cause the same to be filed with the Bankruptcy Court at such time as such
 Authorized Person may determine; and it is further

         RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
 any combination, hereby is, authorized and empowered on behalf of the Company, to
 execute, acknowledge, deliver and verify and file any and all petitions, schedules,
 statements of affairs, lists, motions, applications, and other papers and to take any and all
 related actions that such Authorized Persons may deem necessary or proper in connection
 with the filing of the Petition and commencement of the Chapter 11 Case; and it is further




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         RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
 any combination, hereby is, authorized and empowered from time to time in the name and
 on behalf of the Company, to perform the obligations of the Company under the Bankruptcy
 Code, with all such actions to be performed in such manner, and all such certificates,
 instruments, guaranties, notices and documents to be executed and delivered in such form,
 as the Authorized Person performing or executing the same shall approve, and the
 performance or execution thereof by such Authorized Person shall be conclusive evidence
 of the approval thereof by such Authorized Person and by the Company; and it is further

         RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
 any combination, hereby is, authorized and empowered from time to time in the name and
 on behalf of the Company, to cause the Company to enter into, execute, deliver, certify, file,
 record and perform such agreements, instruments, motions, affidavits, applications for
 approvals or rulings of governmental or regulatory authorities, certificates or other
 documents, to pay all expenses, including filing fees, and to take such other actions, as in
 the judgment of such Authorized Persons, shall be necessary, proper and desirable to
 prosecute to a successful completion the Chapter 11 Case and to effectuate the restructuring,
 reorganization, sale or liquidation of the Company’s assets, refinancing, restructuring or
 other transaction with respect to, its debt, other obligations, organizational form and
 structure or ownership of the Company, and to carry out and put into effect the purposes of
 these resolutions, and the transactions contemplated by these resolutions, their authority
 thereunto to be evidenced by the taking of such actions; and it is further

   II.   Retention of Advisors

         RESOLVED, that the law firm of Milbank LLP, located at 55 Hudson Yards, New
 York, NY 10001, is hereby retained as attorneys for the Company in the Chapter 11 Cases,
 subject to Bankruptcy Court approval; and be it further

        RESOLVED, that Guggenheim Securities, LLC, located at 330 Madison Avenue,
 New York, NY 100017, is hereby retained as investment banker for the Company Parties in
 the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that FTI Consulting, Inc., located at 8251 Greensboro Drive, Suite
 400, McLean, VA 22102, is hereby retained as financial advisor for the Company Parties in
 the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

         RESOLVED, that Omni Agent Solutions, located at 5955 De Soto Avenue, Suite
 100, Woodland Hills, CA 91367, is hereby retained as claims, noticing and solicitation agent
 for the Company Parties in the Chapter 11 Cases, subject to Bankruptcy Court approval;
 and be it further

  III.   Debtor-In-Possession Financing and Use of Cash Collateral

        RESOLVED, that the Authorized Persons be, and each of them hereby is,
 authorized and empowered, in the name and on behalf of the Company, to negotiate for and




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 obtain post-petition financing according to terms to be negotiated by management of the
 Company, including under debtor-in-possession credit facilities, and to execute and deliver
 agreements regarding the use of cash collateral or other similar arrangements, including,
 without limitation, to enter into any guarantees and to pledge and grant liens on its assets as
 may be contemplated by or required under the terms of such post-petition financing or cash
 collateral agreements or other similar arrangements; and, in connection therewith, the
 Authorized Persons be, and each of them hereby is, authorized and empowered to execute
 appropriate loan agreements, guarantees, cash collateral agreements, and related ancillary
 documents;

  IV.   General Authorization and Ratification

        RESOLVED, that, in addition to the specific authorizations heretofore conferred
 upon the Authorized Persons, each Authorized Person (and his designees and delegates) be,
 and hereby is, authorized and empowered, in the name of and on behalf of the Company, to
 take or cause to be taken any and all such other and further action, and to execute,
 acknowledge, deliver and file any and all such agreements, certificates, instruments and
 other documents and to pay all expenses, including but not limited to filing fees, in each
 case as in such Authorized Person’s (or his designees’ or delegates’) judgment, shall be
 necessary, advisable or desirable in order to fully carry out the intent and accomplish the
 purposes of the resolutions adopted herein; and it is further

         RESOLVED, that in addition to the specific authorizations heretofore conferred
 upon each Authorized Person (or, in the case of any document requiring execution as a deed,
 any two directors or any one director and the Company secretary or any director in the presence
 of a witness who attests to their signature) be, and hereby is, authorized and empowered, in
 the name of and on behalf of the Company, to execute on behalf of the Company any and
 all such other agreements, agreements, deeds, consents, notices, applications, certificates,
 authorities, letters, instruments, undertakings or other documents, in each case as in the
 judgment of the person(s) executing the same on behalf of the Company, shall be necessary,
 advisable or desirable in order to fully carry out the intent and accomplish the purposes of
 the resolutions adopted herein; and it is further

         RESOLVED, that each director has received sufficient notice of the actions and
 transactions relating to the matters contemplated by the foregoing resolutions, as may be
 required by the articles of association of the Company, or hereby waives any right to have
 received such notice; and it is further

         RESOLVED, that all actions and transactions heretofore taken, and all agreements,
 instruments, reports and documents executed, delivered or filed through the date hereof, by
 any manager or Authorized Person of the Company in, for and on behalf of the Company,
 in connection with the matters described in or contemplated by the foregoing resolutions,
 are hereby in all respects approved, adopted, ratified and confirmed in all respects as the
 true acts and deeds of the Company as of the date such action or actions were taken; and it
 is further




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         RESOLVED, that, to the extent that the Company serves as the sole member,
 managing member, general partner, partner or other governing body (the “Controlling
 Company”) of any other company (a “Controlled Company”), each Authorized Person of
 the Controlling Company, any one of whom may act without the joinder of any other
 Authorized Person, be, and each of them hereby is, severally authorized and empowered in
 the name and on behalf of the Controlling Company (acting for such Controlled Company
 in the capacity set forth above, as applicable), to take all of the actions on behalf of such
 Controlled Company that an Authorized Person is herein authorized to take on behalf of the
 Controlling Company; and it is further

         RESOLVED, that facsimile or photostatic copies of any signature to these
 resolutions shall be deemed to be originals and may be relied on to the same extent as the
 originals.




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   IN THE UNITED STATES BANKRUPTCY COURT
   FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                       )
   In re:                                              )   Chapter 11
                                                       )
   OneWeb Global Limited,                              )   Case No. 20-      (    )
                                                       )
                                  Debtor.              )
                                                       )


                                     LIST OF EQUITY HOLDERS

              Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

   identifies all holders having an equity ownership interest, in the above-captioned debtor in

   possession.

          Debtor          Equity Holder           Address of Equity Holder            Percentage of
                                                                                      Equity Held
                      Softbank Group Corp.      1-9-1, Higashi-shimbashi                 37.41%
                                                Minato-ku, Tokyo 105-7303,
                                                Japan
                      Qualcomm Global           5775 Morehouse Dr. San Diego,            15.93%
                      Trading Pte. Ltd          CA 92121
                      1110 Ventures, LLC        80 Four Wheel Drive Norwich,             11.94%
                                                VT 05055
                      Airbus Group Proj B.V     30, 2333CS Leiden,                       8.50%
                                                The Netherlands
                      Vieco Nominees            PO Box 71                                7.39%
       OneWeb         Limited                   Road Town, Tortola
       Global                                   British Virgin Islands
       Limited        Indian Continent          6, Sir William Newton Street             5.14%
                      Investment Limited        Port Louis, Mauritius
                      Eagle Investment SCS      121 Avenue de la Faiencerie              3.51%
                                                L-1511 Luxembourg
                                                RCS B204845
                      EchoStar Operating        100 Inverness Terrace                    2.57%
                      LLC                       East Englewood, CO 80112
                      The Government of the     P. O. Box 158                            1.87%
                      Republic of Rwanda        Kigali, Rwanda
                      Intelsat Corporation      7900 Tysons One Place                    1.29%
                                                McLean, VA 22102
                      MacDonald, Dettwiler      13800 Commerce Parkway                   1.29%
                      Holdings Limited          Richmond, British Columbia


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               Servicios TPlay, S.A. de  Montes Urales 450                1.29%
                                         Lomas de Chapultepec, 11000
                                         Mexico City, Mexico
               The Coca-Cola Company 1 Coca-Cola Plaza                    1.29%
                                         Atlanta, GA 30313
               Steve Markin, as trustee 75 Dillon Way                     0.35%
               of the Wyler Family Trust Washington Crossing, PA
                                         18977
               Sanne Fiduciary Services 13 Castle Street, St Helier,      0.20%
               Limited as trustee of the JE4 5UT
               One Web Global Limited
               Voting Trust
               ASP Capital Holdings,     330 West 47th Street             0.05%
               Inc.                      Suite 250
                                         Kansas City, MO 64112




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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                     )
In re:                                               ) Chapter 11
                                                     )
OneWeb Global Limited,                               ) Case No. 20-_____ (___)
                                                     )
                               Debtor.               )
                                                     )

                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a government unit, that directly or indirectly own 10% or

more of any class of the debtor’s equity interest:

                   Shareholders                      Approximate Percentage of Shares Held
               Softbank Group Corp.                                37.41%
         Qualcomm Global Trading Pte. Ltd.                         15.93%
                1110 Ventures, LLC                                 11.94%




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 Fill in this information to identify the case and this filing:

                OneWeb Global Limited (UK)
 Debtor Name __________________________________________________________________
                                            Southern
 United States Bankruptcy Court for the: ______________________              New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                         Official Form 201A,
                                                          List of Equity      ListHolders,
                                                                         Security  of EquityCorporate
                                                                                             Security Holders,
                                                                                                      OwnershipCorporate Ownership Statement
                                                                                                                 Statement
         
         X    Other document that requires a declaration_______________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     03/27/2020
        Executed on ______________                               /s/ Thomas Whayne
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Thomas  Whayne
                                                                 Tom Whayne
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
